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lN THE DISTRICT COURT OF OKLAHOMA COUNTY

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JoHN Fox and sARsARA Fo)<, mom COUNTY

Plaimirrs, N@V ~1 2017

v Case No: Ré§§R¥{/%§§RILN

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lusuRANcE coMPANY, CJ " ZQWTZ

Defendant. JURY TR|AL DEMANDED

 

 

PET|T|ON

 

COMES NOW the Piaintiffs, John Fox and Barbara Fox, and for their
causes of action against Defendant, aliege and state:

1. At all times material hereto Plaintiifs' property Was insured under
Country Financial lnsurance Company,‘ F'oiicy No. A35K7883601. The subject
policy was in full force and effect at all times pertinent hereto.

2. Plaintiff property sustained earthquake damage on November 7,
2016.

3. Plaintiffs submitted a- claim for earthquake damage to
Defendant, made the premises available for inspection by Defendant‘s adiuster,
cooperated in the limited investigation that Defendant performed and othen:vise
complied with ali conditions precedent to recovery under the subject insurance

policy.

 

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4. Country Financial breached the subject insurance contract by

wrongfully denying Plaintiffs’ claims for loss or damage to his property caused by

earthquake

5. Country Financial breached the implied covenant of good faith and

fair dealing in the insurance contract, as a matter of standard business practice,

in the following respects:

3.

faiiing and refusing payment and other policy benefits on
behalf of P|aintiffs at a time when Counfry Financiai knew that
it was entitled to those benefits because the earthquake
damage was obvious;

failing to properly investigate P|aintiffs claim by not attempting
to view and consider all apparent damage;

refusing to honor P|aintiffs claims for reasons contrary to the
express provisions of the policy that covers earthquake
damage;

refusing to honor P|aintiffs claims in some instances by
appiying restrictions not contained in the policy;

refusing to honor Plaintiffs claims in some instances by
knowingly misconstruing and misapplying provisions of the

policy;

failing to adopt and implement reasonable standards for the
prompt investigation and reasonable handling of claims
arising under these policies, to include P|aintiffs claims;

not attempting in good faith to effectuate a prompt, fair and
equitable settlement of P|aintiffs claims once liability had
become reasonably clear;

failing to properly evaluate the limited investigation that was
performed;

 

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i. refusing to consider the reasonable expectations of the
insured that her horne would be covered for earthquake
damage;

j. using the services of a purported expert who, upon information
and belief, finds in a disproportionate number of claims for the
insurance company;

k. intentionally prolonging the claims handling process for an
unreasonable amount cf time cfa year;

l. forcing the insured to hire their own engineer as a requirement
for Defendant to further consider coverage and claim benefits;

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m. refusing to consider expert opinion of insured’s hired engineer;

n. refusing to consider evidence of insured home’s pre-loss
condition in determining cause of lossl and denying this claim;

o. refusing promises of coverage and prompt payment after an
insured hired an engineer;

p. refusing to take into consideration homes damaged by the
same earthquake in the vicinity;

q. ignoring Okiahoma insurance Department instructive on the
handling of earthquake claims;

r. refusing to correct inaccurate repair estimates;
s. assigning ungualined adjusters to this claim; and,

t. hiring biased engineers to write pre-made reports that
determine damages is caused by a non-covered icss;

all in violation of the implied covenant of good faith and fair dealing and
resulting in financial benefit to the Defendantl Country Financial.
6. As a direct and proximate result of Defendant’s breach of contract

and breach of the implied covenant of good-faith and fair dealing, P|aintiffs have

 

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suffered the loss of the policy benet"its, loss of the coverage, embarrassment,
anxiety, frustration and mental and emotional distress, and other incidental
damages

7. Detendant recklessly disregarded and/or intentionally and with
malice breached its duty to deal fairly and act in good faith entitling Plaintiftc to
recover punitive damages

WHEREFORE, Plaintiffs demand judgment against Defendant, Country
Financial lnsurance Company, in an amount in excess of $75,000.00 for
compensatory damages and in an amount in excess of $75,000.00 for punitive
damages pius interest, ccsts, attorney fees and all other relief which the Court

deems just and equitable

    
 

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